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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    MARK A. LIZARRAGA, CA Bar #186240
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    VANESSA NICOLE NUNEZ
7
8                                   IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                NO. 1:05-cr-00168 AWI
                                           )
12                     Plaintiff,          )                STIPULATION TO CONTINUE STATUS CONFERENCE
                                           )                HEARING; VACATE MOTION HEARING TO BE RESET BY
13         v.                              )                COURT AT LATER DATE; EXTEND GOVERNMENT’S
                                           )                RESPONSE DATE TO DEFENDANT’S MOTION; AND
14   VANESSA NICOLE NUNEZ, et al.,         )                ORDER THEREON
                                           )
15                     Defendants.         )                Date: August 22, 2005
                                           )                Time: 9:00 a.m.
16   _____________________________________ )                Judge: Hon. Anthony W. Ishii
17
18           IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
19   attorney of record herein, that the Status Conference hearing in the above captioned matter, set for
20   August 15, 2005 is continued to August 22, 2005 at 9:00 a.m;
21           IT IS FURTHER STIPULATED by and between the parties hereto, and through their respective
22   attorney of record herein, that defendant Vanessa Nicole Nunez’ hearing on her “Notice of Motion for
23   Review of Detention Orders” filed on July 21, 2005 is hereby vacated, to be reset by the Court at a later
24   date; and the Government’s response to said motion, due on or before August 10, 2005, is hereby
25   extended indefinitely to a date to be reset by the parties at a later time.
26           The parties agree that the delay resulting from the continuance shall be excluded as necessary for
27   effective defense preparation pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and for the filing of pretrial
28   ///
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1    motions and ruling thereon pursuant to 18 U.S.C. § 3161(h)(1)(F).
2            DATED: August 11,2005
3                                                         McGREGOR W. SCOTT
                                                          United States Attorney
4
5
                                                          /s/ Sherrill A. Carvalho
6                                                         SHERRILL A. CARVALHO
                                                          Assistant U. S. Attorney
7                                                         Attorney for Plaintiff
                                                          UNITED STATES OF AMERICA
8
9            DATED: August 11, 2005                       QUIN DENVIR
                                                          Federal Defender
10
11
                                                          /s/ Mark A. Lizarraga
12                                                        MARK A. LIZARRAGA
                                                          Assistant Federal Defender
13                                                        Attorney for Defendant
                                                          VANESSA NICOLE NUNEZ
14
15
16
             DATED: August 11, 2005                       /s/ Stephen Mensel
17                                                        STEPHEN MENSEL
                                                          Attorney for Defendant
18                                                        ALEJANDRO LOPEZ VELAZQUEZ
19
20
                                                            ORDER
21
22   IT IS SO ORDERED.
23   Dated:       August 15, 2005                           /s/ Anthony W . Ishii
     0m8i78                                           UNITED STATES DISTRICT JUDGE
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25
26
27
28

     Stipulation to Continue Status Conference Hearing;
     Vacate Motion Hearing to be Reset by Court, etc.            2
